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" ` FILED |NTHE °

UN!TED STATES DZSYRSCT COURT
D|STR|C? OF HAWAH

iN THE UNITED STATES DISTRICT COURT APR 0 2 2004 y
ii;

at o'c!ock and min.__M

FOR THE DISTRICT OF HAWAI`I WAZ_TEFI A.¥.H. CH!NN. CLERK

S`I`OKATAME HAFOKA, ) CI\/’lL NO. 04-0()031 DAE~BMK
) CR NO. 97-01 199 DAE
P€titioncr, )
)
vS. )
)
UNITED STATES OF AMERICA, )
)
Rcspondcnt. )
)

 

ORDER DENYING PETITIONER’S MOTION FOR HABEAS CORPUS
RELIEF' UNDER 28 U.S.C. 5 2255

Pursuant to Local Rule 7.2(d), thc court finds this matter Suitablc for
disposition Without a hearing Aftcr reviewing Petitiorier’$ motion, the court
DENIES Pctitioner’$ 28 U.S.C. §2255 Motion,

BACKGROUND

On J'unc 14, 1999, a jury found Pctitioncr guiity of Conspi_racy to
Distributc and Posscss With Intent to Distributc in Exccss of 5 Kilogranis of
Cocainc in violation oi"2i U.S.C, §§ 841(a)(i) and 846. On Deccmbcr 16, 1999,
Petitioncr filed a time}y appeal. As part of the direct appeal process, Pctitioner’$
court appointed attorncy, Richard S. Kawana, Esq., (“Mr. Kawana”), received

copies of the trial transcripts On May 3 i, 2002, the Ninth Circuit upheld

 

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Pettttoner’s conviction §§ U.S. v. Hat`oka, 40 Fed. rappx. 461 462, 2002 WL
l 1609l_9, l (9th Cir. D. Havvai`i),

Petr'tioner previously filed two Motions to Extend "l`irne for Filing a
§2255 l\/Iotlon. S_ee_ Order Denyrng As Moot Petitioner’s l\/Iotion to Hold Court
Appointed Attorney r`_n Conternpt For Failure to Provide Trial Transcripts, filed
Decern‘oer lO, 2003, and Order l)enying Petitioner’s Motion to Compel the Clerl<
of Court to Provide C.opies ot" Trial and Sentencing Transcripts to Petitioner
Whoin is `lndigent, filed Deceniber 30, 2003. Petitioner argued in both motions
that his attorney, Mr. Kawana, failed to make his trial transcripts available to him
so that he could use them in preparation of his §225 5 l\/[otion.

The court denied both requests to extend time. First, the court noted
that Mr. Kawana was ordered by the court to make the transcripts available to he
picked up by Petitioner’s farndy. Defendant did not provide the court with any
evidence that Mr. Kawana had failed to comply with the court order to make the
transcripts available to Petitioner. Accordingly, the court found Petr`tioner’s claim
to be Without merit Moreover, because Petitioner failed to provide the Court Wrth
any reason Why his petition Was untimely, the court found that Petitloner had
arnple time to draft his habeas petition and thereby denied both of his l\/Iotions to

EXte-nd Tinie.

 

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§2255;

STANDARD OF REV[EW

This court’s review of Petitioner's motion is provided for in 28 U.S.C.

A prisoner in custody under sentence of a court established by
Act of Congress claiming the right to be released upon the
ground that the sentence was imposed in violation of the
Constitution or laws of the United States, or that the court was
without jurisdiction to impose such sentence, or that the
sentence was in excess of the maximum authorized by law, or
is otherwise subject to collateral attacl<, may move the court
which imposed the sentence to vacate, set aside or correct the
sentence

"l`he scope of collateral attack ot` a sentence under § 2255 is limited,

and thus it does not encompass all claimed errors in conviction and sentencing

United States v. Addonizio, 442 U.S. l78, l85 (1979).

Under § 2255, the court shall hold an evidentiary hearing on a

petitioner’s motion "unless the files and records of the case conclusively show that

the prisoner is entitled to no relief." 28 U.S.C. § 2255. The standard for holding

an evidentiary hearing is whether the petitioner has made specific factual

allegations that, if true, state a claim on which relief could be granted United

States v. Schatlander, 743 F.Zd 714, 717 (9"` Cir. 1984). The l\linth Circuit has

claritied, however, that "[ni]erely conclusory statements in a § 2255 motion are

not enough to require a hearing." United States v. Johnson, 988 F.Zd 941, 945

 

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(`citing United States v. Hearst, 638 F.Zd ll90, l l94 (9th Cir. 1980), cert, denied,
451 U`.S.938(l981)).

28 U.S.C. § 2255 imposes a one-year statute of limitations on the
filing ot` habeas petitions The one-year statute of limitations begins to run from
the latest oi:

(]) the date on which the judgment of conviction becomes tinal;

(2) the date on which the impediment to making a motion created by
governmental action in violation of the Constitution or laws of the
United States is removed, if the movant was prevented from making a
motion by such governmental action;

(3) the date on which the right asserted was initially recognized by the
Suprerne Court, if that right has been newly recognized by the
Supreme Court and made retroactively applicable to cases on
collateral revievv; or

(4) the date on which the facts supporting the claim or claims
presented could have been discovered through the exercise of due
diligence
28 U.S.C. § 2255.
The Ninth Circuit, however, has recently held that equitable tolling
applies in certain limited situations to motions brought pursuant to 28 U.S.C.
§ 2255. United States v. Battles, 2004 WL 615242, at *l (9th Cir. l\/.larch 30,
2004). in order to determine whether a petitioner is entitled to equitable tolling,

the court must “decide ii it is possible for him to demonstrate that extraordinary

circumstances beyond [his] control [made] it impossible to file a petition on time

 

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and the extraordinary circumstances were the cause of his untimeliness.”’ _l_d_. at *2
(quoting Laws v. A.A. Lamarque, 351 P.Sd 919, 922 (9th Cir. 2003)).
D_ISCUSSION

The Ninth Circuit upheld l’etitiorier’s conviction on l\/Iay 31, 2002.
§ee U.S. v. Hal`ol<a, 40 Fed. Appx. 46l, 462, 2002 WL 1160919, 1 (9m Cir. D.
Hawai`i). Petitioner’s l\/lotions to Extend Tirne for Filing a §2255 l\/lotion were
denied Petitioner tiled the instant motion on January 20, 2004, more than one
year after the date his appeal became iinal. Accordingly, the court must consider
whether or not Petitioner is entitled to equitable tolling of his §2255 l\/lotion.

As stated above, the court has already ruled that Det`endant’s Attorney
l\/lr. Kawana made the transcripts available to be picked up by l)el`endant or his
family. §ee Order Denying As Moot Petitioner’s l\/[otion to Hold Court Appointed
Attorney in Contempt For F ailure to Provide Tri al Transcripts, filed December 10,
2003,and Order Denying Petitioner’s l\/lotion to Cornpel the Clerl< of Court to
Provide Copies of Trial and Sentencing Transcripts to Petitioner Whom is
Indigent, filed Decernber 30, 2003. Defendant has never provided the court with
any evidence that l\/lr. Kawana failed to make the transcripts available, or that he
was unable to have a family member collect the transcripts The court thereby

finds that Defendant has not established that it would have been impossible for

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him to tile a petition on tirne, or that there were any extraordinary circumstances

that would explain his untimeliness The court hereby DENlES l)etitioner’s

§ 2255 Motion for Habeas Corpus reliet`.
IT lS SO ORDERED.

DATED; nonoiuiu, uawair, APR 0 2 2904

   
 

   

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CHIEF' ’ iran srArns ntsriuer moon

 

Siokatame l~lat`ol<a v. United States of America, Civil No. 04-00031, CR. No. 97-

0l l99 DAE; OR_DER DENYING PETITIONER’S MOTION FOR HABEAS
CORPUS RELlEF UNDER 28 U.S.C. § 2255

 

